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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION




FEDERAL TRADE COMMISSION                           C.A. No. 1:23-cv-03053

STATE OF CALIFORNIA

STATE OF ILLINOIS

STATE OF MINNESOTA

STATE OF NEW YORK

STATE OF WASHINGTON

  and

 STATE OF WISCONSIN,

                               Plaintiffs,

                  v.

 AMGEN INC.

 and

 HORIZON THERAPEUTICS PLC,

                               Defendants.



    STATEMENT CONCERNING AGREED-TO BRIEFING SCHEDULE FOR
              PLAINTIFF FEDERAL TRADE COMMISSION’S
  MOTION TO STRIKE CERTAIN OF DEFENDANTS’ AFFIRMATIVE DEFENSES

        Plaintiff and Defendants have agreed on the following briefing schedule regarding

Plaintiff Federal Trade Commission’s Motion to Strike Certain of Defendants’ Affirmative

Defenses:
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 Event                                          Deadline


 Plaintiff’s Motion to Strike Certain of        July 20, 2023
 Defendants’ Affirmative Defenses


 Defendants’ Response in Opposition to          August 10, 2023
 Plaintiff’s Motion to Strike


 Plaintiff’s Reply to Defendants’ Response to   August 24, 2023
 Plaintiff’s Motion to Strike



Dated July 20, 2023                                        Respectfully submitted,

                                                           /s/ Nathan Brenner
                                                           Nathan Brenner (IL Bar 6317564)
                                                           Stephen A. Mohr
                                                           Jordan S. Andrew
                                                           Jessica Weiner

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